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                       IN THE UNITED STATES DISTRICT COURT                       Jul 27, 2021
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *                             MD
                                                *
        v.                                      *
                                                *
 THOMAS PATRICK CONNALLY,                       *    CRIMINAL NO. 21-MJ-2170-TJS
 JR.                                            *
                                                *
   Defendant.                                   *
                                                *
                                                *
                                             *******

                                    MOTION TO UNSEAL

       The United States of America, by its attorneys, Jonathan F. Lenzner, Acting United States

Attorney for the District of Maryland, and Rajeev R. Ragahvan Assistant United States Attorney

for said District, moves this Honorable Court for an order unsealing the Criminal Complaint and

Affidavit, and all other docket entries in the above-captioned matter. The Defendant is in custody,

thereby obviating the need to maintain the case under seal any longer.

       WHEREFORE, the Government requests that the Criminal Complaint and all other

docket entries be unsealed.

                                                          Respectfully submitted,

                                                          Jonathan F. Lenzner
                                                          Acting United States Attorney

                                                     By: ______________________
                                                         Rajeev R. Raghavan
                                                         Assistant United States Attorney

       ORDERED as prayed, this ___
                               27th day of July, 2021.




                                                 ______________________________
                                                 Honorable Timothy J. Sullivan
                                                 United States Magistrate Judge
